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                           1   WILKE, FLEURY, HOFFELT,
                               GOULD & BIRNEY, LLP
                           2   KELLI M. KENNADAY, Bar No. 155153
                               KIM JOHNSTON, Bar No. 196961
                           3   400 Capitol Mall, Twenty-Second Floor
                               Sacramento, CA 95814
                           4   Telephone:   (916) 441-2430
                               Facsimile:   (916) 442-6664
                           5
                               Attorneys for Defendant
                           6   CALVIN CHANG

                           7

                           8                                   UNITED STATES DISTRICT COURT
                           9                                   EASTERN DISTRICT OF CALIFORNIA
                      10

                      11       TIMOTHY C. NELSON,                                 Case No. 2:05-cv-01193 MCE-KJM
                      12                          Plaintiff,                      SUBSTITUTION OF ATTORNEYS;
                      13       v.                                                 ORDER
                      14       CITY OF DAVIS; JAMES HYDE,
                               individually and in his official capacity as
                      15       Chief of Police for the CITY OF DAVIS;
                               SERGEANT JOHN WILSON, individually
                      16       and in his official capacity as a Sergeant for
                               the CITY OF DAVIS; CALVIN HANDY,
                      17       SERGEANT MICHAEL MASON,
                               OFFICER JAVIER BARRAGAN,
                      18       OFFICER BRANDON JONES, OFFICER
                               CALVIN CHANG, OFFICER M.
                      19       GARCIA, individually and DOES 1-100,
                               inclusive,
                      20
                                                  Defendants.
                      21

                      22

                      23       THE COURT AND ALL PARTIES ARE NOTIFIED THAT:

                      24              Defendant Calvin Chang hereby substitutes Kelli M. Kennaday, Esq., California Bar No.

                      25       155153, and Kim Johnston, California Bar No. 196961, of the law firm Wilke, Fleury, Hoffelt,

                      26       Gould & Birney, LLP, 400 Capitol Mall, 22nd Floor, Sacramento, California 95814, (916) 441-

                      27       2430, as his attorneys of record in this action in the place of Michael T. Lucey, Michael A.

                      28       Laurenson and Mark S. Posard of the law firm of Gordon & Rees LLP, 655 University Avenue,
 W ILK E , F LEURY ,
H OFFELT , G OULD &
   B IRNEY , LLP                                                                -1-
  A TTORN E YS A T L A W
                               Case 2:05-cv-01193-MCE-CKD Document 22 Filed 01/11/06 Page 2 of 2


                           1   Suite 200, Sacramento, California 95825; (916) 565-2900.

                           2
                                      November 28
                           3   DATED: October ____, 2005                                        /s/
                                                                         Calvin Chang
                           4

                           5   I consent to the above substitution.
                           6   DATED: October 31 , 2005                  GORDON & REES LLP
                           7

                           8                                             By                     /s/
                                                                              Mark S. Posard
                           9                                                  State Bar No. 208790
                      10

                      11       I accept the above substitution.
                                          December 1
                      12       DATED: October ____, 2005                 WILKE, FLEURY, HOFFELT,
                                                                         GOULD & BIRNEY, LLP
                      13

                      14                                                 By                     /s/
                                                                              Kelli M. Kennaday
                      15                                                      State Bar No. 155153
                      16

                      17       IT IS SO ORDERED.
                      18       DATED: January 10, 2006
                      19
                                                                      __________________________________
                      20                                              MORRISON C. ENGLAND, JR
                                                                      UNITED STATES DISTRICT JUDGE
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 W ILK E , F LEURY ,
H OFFELT , G OULD &
   B IRNEY , LLP                                                           -2-
  A TTORN E YS A T L A W
